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 1   JOHN F. GARLAND #117554
     Attorney at Law
 2   1713 Tulare Street, Suite 221
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant
 5   SHAROKEN KHOSHABA
 6
 7                                UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )            Case No. 1: 06 CR 00419 LJO
                                      )
11          Plaintiff,                )             ORDER FOR RETURN OF PASSPORT
                                      )
12               v.                   )
                                      )
13   SHAROKEN KHOSHABA,               )
                                      )
14          Defendant.                 )
     _________________________________)             HONORABLE LAWRENCE J. O’NEILL
15
16            The above-named defendant having been sentenced to a term of probation, and the legal
17   proceedings having been terminated;
18            IT IS HEREBY ORDERED that the Passport posted in this matter be returned to
19   defendant SHAROKEN KHOSHABA, or her representative.
20
21            Passport No.: 057905908
22            Receipt No.: 101-10047
23
24   IT IS SO ORDERED.
25   Dated:      March 28, 2008                      /s/ Lawrence J. O'Neill
     b9ed48                                      UNITED STATES DISTRICT JUDGE
26
27
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